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Case 3:02-CV-0557O-VVHA Document 623-2 Filed 03/15/04 Page 1 of 10

MICHAEL W. BOLECHOWSKI (SBN: 118725)

MARKC RAsKOFF(sBN 72330)
MARYA KiKER(sBN 137824)

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Attorneys for all Defendants except Prasad Lakireddy

IN THE UNITED STATES DISTRICT

FOR THE NO_RTHERN DISTRICT OF CAL[FORNIA

JANE DOE I; JANE DOE II; LAKSHMI
and JARMANTI PRATTIPATI as Parents
and Successors in Interest of CHANTI
JYOTSNA DEVI PRATT[PATTI; JANE
DOE III; JANE DOE IV; JANE DOE V;
DANE DOE VI; JANE DOE VII; JANE
DOE VIII; SREEKANTH KOLL[PARA;
and All Others Similarly Situated

Plaintiffs,
vs.

LAKIREDDY BALI REDDY, an
individual; VIJAY KUMAR
LAKIREDDY; an individual; PRASAD
LAKIREDDY, an individual; _
JAYAPRAKASH REDDY LAKIREDDY,
an individual; VENKATESWARA
REDDY LAKIREDDY, an individual; and
the businesses they controlled and/or
operated, including PASAND MADRAS
CUISINE, a California corporation;
PASAND, INC., a California corporation;
LAKIREDDY INVESTMENT CO., a
Califomia limited liability corporation; L.B.
REDDY ESTATE CO., a California limited
liability company; JAY CONSTRUCTION,

» a California sole proprietorship; ACTIVE

`TECH SOLUTIONS, a California
corporation; VANI COMPUTER
SOLUTIONS, a California limited liability
corporation; LAKIREDDY BALI REDDY
d/b/a REDDY REALTY CO., a California
sole proprietorship; and ROES l through
100, inclusive,

Defendants.

 

 

 

Case No. C-02-5570-WHA

RESPONSES TO PLAINTIFF JANE DOE
I’S INTERRQGATORIES TO
DEFENDANT LAKIREDDY
INVESTMENT CO., SET ONE

l

RESPONSES TO JANE DOE I’S INTERROGATORIES TO DEFENDANT LAKIREDDY INVESTMENT

C-02-5570-WHA

 

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PROPOUNDING PARTY: PLAINTIFF JANE DOE I
RESPONDING PARTY: LAKIREDDY INVESTMENT CO.
SET NUMBER: ONE '

INTERROGAT_ORY RESPONSES
l. State YOUR full name and the address of YOUR principal place of business.
RESPONSE: Lakireddy,lnvestment Company LLC, 2278 Shattuck Ave. Berkeley, California
94704 '

2. State all other names that YOU have used (including fictitious business names)
between January l, 1982 and the present.
RESPONSE: None

3. ' State YOUR legal status (i.e. corporation, partnership, joint venture,
unincorporated association, etc.) and the place and date YOU were formed.
RESPONSE: Lakireddy Investment is a Partnership, Investigation is still continuing into the
date and place of formation, when the answer is determined a supplementary response will be

filed.

4. IDENTIFY every person and ENTITY that has an ownership interest in YOU

and state the size of that interest (i.e. 100 percent, 25 percent, etc.) (If there have been any
changes in ownership since January l, 1990, describe each change in ownership.)
RESPONSE: Lakireddy Bali Reddy, Vij ay Kumar Lakireddy, Jayaprakash Reddy Lakireddy,
Prasad Lakireddy

5. IDENTIFY YOUR officers and directors.
RESPONSE: None
2 .

RESPONSES TO JANE DOE I’S INTERROGATORIES TO DEFENDANT LAKIREDDY INVESTMENT
C-02-5570-WHA

 

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6. H)ENTH"Y YOUR ORGANIZATIONAL DOCUMENTS.
RESPONSE: The only documents are a Partnership Agreement that will be provided on the day

of first production.

7. IDENTIFY every ENTITY in which you held, directly or indirectly, a 10 percent

or greater ownership interest at any time between January 1, 1990 and the present

,RESPONSE': None

8. Did YOU ever EMPLOY any of the PLAINTIFFS to perform work in
California?

RESPONSE: No

9. If YOUR answer to Interrogatory No. 8 is yes, list the PLA]NTIFFS whom you
EMPLOYED to perform work in California and provide their respective dates of
EMPLOYMENT.

RESPONSE: N/A

10-. For each of the PLAINTIFFS listed in response to Interrogatory No.9,
IDENTIFY all DOCUMENTS that report the number of hours worked by the PLAINTIFF as

l YOUR EMPLOYEE in California and/or the WAGES paid to PLA]NTIFF for such work.

RESPONSE: N/A

11. For each of the PLAINTIFFS listed in response t__o Interrogatory No.9, state
whether YOU ever EMPLOYED the PLAlNT[FF to perfonn work in California OFF THE
BOOKS.

RESPONSE: N/A

12. l F or each of the PLA]NT]FFS listed in response to Interrogatory No.9, provide a
complete itemization of all money and other things of value that were provided to the

PLA]NTIFF (or his or her family) as full or partial compensation for the PLAINTIFF'S labor as

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RESPONSES TO JANE DOE I’S INTERROGATORIES TO DEFENDANT LAKIREDDY INVESTMENT
- ' C-02-5570-WHA

 

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YOUR employee in California and that are not reported in the records YOU identified in
response to Interrogatory No. l O.
RESPONSE: N/A

13. For each of the PLA]NTIFFS listed in response to Interrogatory No.9, provide a
complete listing of the hours worked by the PLAINTIFF as YOUR employee in California that
are not reported in the records YOU identified in response to Interrogatory No.lO.
RESPONSE: N/A

14. IDENT[FY every person (other than the PLAINTIFFS) whom YOU
EMPLOYED to perform work in California at any time between January 1, 1990 and the
present and provide their respective dates of EMPLOYMENT.

RESPONSE: None -

15. For each person identified in response to Interrogatory No. 14, state whether
YOU ever EMPLOYED the person to perform work in California OFF THE BOOKS.
RESPONSE: N/A

16. For each of the PLAWTEFS, IDENTIFY every person and ENTITY that
EMPLOYED the PLAINTIFF to perform work in California prior to January 1,2000 and
provide the dates of EMPLOYMENT.
RESPONSE:
1. DOE 1 often socialized at restaurant defendant Pasand Madras Cuisine, but never
was employed by any defendant
2. DOE 11 often socialized at restaurant defendant Pasand Madras Cuisine, but never
was employed by any defendant _
3. DOE III Worked for various restaurants owned by defendants including Pasand

Madras Cuisine, as well as being employed by J ay Construction from 1995until

4 ,
RESPONSES TO JANE DOE I’S INTERROGATORIES TO DEFENDANT LAKIREDDY INVESTMENT
C-02-5570-WHA

 

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the end of 1999.

4. DOE IV Worked for J ay Construction from 1995 until 1999. DOE IV was paid by
Active Tech Solutions, but never performed any actual work for Active Tech
Solutions.

5. - DOE V Worked for J ay Construction from 1995 until 1999.

6. DOE VI Worked for J ay Construction from 1995 until 1999.

7. DOE VII was never employed by a defendant

8. DOE VIII worked for Pasand Madras Cuisine from September of 1999 until
January of 2000.

9. SREEKANTH KOLL[PARA came to the United States in December of 1999 to
work for Active Tech Solutions, but never worked for Active Tech Solutions.

10. CHANTI JYOSTHNA DEVI PRATTIPATI often socialized at restaurant Pasand
Madras Cuisine, but never was employed by any defendant

Dated: §§ %7.? BISHOP ARRY, HOWE, , Y & RYDER

     

By'

` MICH_AEL w BOLECHOWSKI
MARK c. ~RAsKoFF

 

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RESPONSES TO JANE DOE I’S INTERROGATORIES TO DEFENDANT LAKIREDDY INVESTMENT

C-02-5570-WHA

 

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VERIFICATION

`REsPons`Es.#.To""PLAI`_NTIFI-"`s MRROGAToRIEs- To LAKIREDDY INVESTMENT ,'co; :

[ ] 1, Lakireddy Bali Reddy, am a party to this action; the attached document is true of my
own knowledge, except as to the matters that are stated there upon my information and
belief or as to matters within the knowledge of my counsel of record or their agents, and
as to those matters 1 believe them to be true.

[X ] 1 am an officer or agent of the party providing this Verification, and am authorized to
make this Verification for and on its behalf, and 1 make this Verification for that reason; 1
have read the attached document(s) and know the contents; 1 am informed and believe and
upon that ground allege that the matters stated in said document(s) are true.

[ ] 1 am one of the general partners of the partnership providing this Verification, and am
authorized to make this Verification for and on behalf of the partnership, and 1 make this
Verification for that reason; 1 have read the attached docurnent(s) and know the contents; 1
am informed and believe and upon that ground allege that the matters stated in said
document(s) are true.

[ ] 1 am one'of the attorneys for the party required to provide this verified Answer; 1 make
this Verification on behalf of said party who is absent from the County of Alameda,
Califomia, where 1 have my office; 1 have read the attached Answer and know its
contents; 1 am informed and believe and on that ground allege that the matters stated 1n it
are true.

[ ] 1 am one of the attorneys for the party required to provide this verified response. 1 make
this Verification for the reason checked below:

[ ] because the facts alleged in the attached document are within my own
personal knowledge, and are not within the knowledge of the responding
party or any of its agents or employees;

[ ] because the responding paity's whereabouts are unknown to me, said party
has failed to communicate with me concerning the subject litigation, and it
is impossible, impractical or futile to secure said party's Verification to the
attached document;

The matters stated in the attached document are true of my own knowledge, except as to
any matters stated therein upon information and belief`, and as to those matters 1 believe
them to be true.

1 declare under penalty of perjury under the laws of the State of California that the foregoing is
true and correct and that this Verification was executed on 3 j § -' , 2003 at

Lv fVl 17 VC. , California.

Laki'reddy Bah Reddy

 

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VERIFICATION
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Case 3:02-CV-05570-WHA Document 623-2 Filed 03/15/04 Page 7 of 10

MICHAEL W.BOLECHOWSKI(SBN:118725)
MARK C RASKOFF (SBN: 72330)

DAVID L`. HART (SBN: 219517)'

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Attomeys for all Defendants except Prasad Lakireddy

IN THE UNITED STATES DISTRICT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

JANE DoE 1; et al., ' case No. c-02-5570-wHA

Plaintiffs, sUPPLEMENTAL RESPONSES To
PLAINTlFF JANE noE l’s
VS. INTERROGATORIES To DEFENDANT
- LAKIREDDY INVESTMENT co., sET
_ - 7 oNE

LAKIREDDY BALI REDDY, et al., AMENDED

Defendants.

 

 

 

PROPOUNDING PARTY: PLAINTIFF JANE DOE 1
RESPONDING PARTY: LAKIREDDY INVESTMENT CO.

SET NUMBER: ONE
SUPPLEMENTAL INTERROGATORY RESPONSES

3. State YOUR legal status (i.e. corporation, partnership, joint venture,

' unincorporated association, etc.) and the place and date YOU were formed.

RESPONSE:
Responsive party is a Limited Liability Company. Responding party has made a diligent
search but is unable to provide further information
6. ` IDENTIFY YOUR ORGANIZATIONAL DOCUMENTS.
RESPONSE: Defendants believe a partnership agreement exists, but are currently unable to

locate it. Defendants have made a diligent search of documents the'y have and will continue to

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SUPPLEMENTAL RESPONSES TO PLAINTIFF JANE DOE 1 S INTERROGATORIES TO DEFENDANT
LAKlREDDY INVESTMENT CO., SET ONE ~
C-02-5570-WHA

 

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make available to plaintiffs. Responsive party has produced all of its tax returns identifying it as

a Limited Liability Company. Responding party is still unable to locate ORGANIZATIONAL

DocUNmNTs

16. F or each of the PLA[NTIFFS, IDENTIFY every person and ENTITY that

EMPLOYED the PLAINTIFF to perform work in California prior to January l, 2000 and

provide the dates of EMPLOYMENT.

RESPONSE:
l.

DOE 1 often socialized at restaurant Pasand Madras Cuisine, but never Was
employed by any defendant Defendants don’t know anyone else that employed
this plaintiff

DOE 11 often socialized at restaurant Pasand Madras Cuisine, but never was
employed by any defendant Defendants don’t know anyone else that employed

this plaintiff`.

_ DOE 111 worked for various restaurants owned by Defendants on an “as needed

basis” and was employed by Jay Construction from 1995 until the end of 1999 as
well n an “as needed basis”. Defendants can not be more speciHc With regard to
the hours Doe 111 worked. Defendants did pay for several trips to lndia for Doe III
for months. During the vacations to'lndia Doe 111 performed no work for
Defendants. Defendants don’t know anyone else that employed this plaintiff
DOE IV worked for Jay Construction from 1995 until 1999. Doe 1V was paid by-
Active Tech Solutions but never performed any actual work for Active Tech

Solutions. Defendants have searched records and are unable to determine the

y hours this plaintiff worked per Week. Defendants paid for Doe IV to take trips

back to lndia for several months at a time. Defendants believe Doe IV worked at
Subway Sandwiches in Berkeley. Defendants have made a diligent search, but are
unable to give more specific information Defendants don’t know anyone else that

employed this plaintiff. l
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SUPPLEMENTAL RESPONSES TO PLAINT[FF JANE DOE I’S INTERROGATORIES TO DEFENDANT

LAKIREDDY INVESTMENT CO., SET ONE
, C-02-5570-WHA

 

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Case 3:02'-_CV-05570-WHA Document 623-2 Filed 03/15/04 Page 9 of 10

5;. DOE V worked for Jay Construction from 1995 until 1999. Defendants paid for
Doe V to take trips back to lndia for several months at a time. Defendants have
searched records and are unable to determine the hours the plaintiff worked per
week.' Defendants don’t know anyone else that employed this plaintiff.

6. , DOE VI worked for Jay Construction from 1995 until 1999. Defendants paid for
Doe VI to take trips back to lndia for several months at a time. Defendants have
made a diligent search of the records but are unable _to give specific information on
the hours this plaintiff worked. Defendants don’t know anyone else that employed

l this plaintiff

7. l DOE VII was never employed by a Defendant. Defendants don’t know anyone
else that employed this plaintiff.

8. DOE VIII worked for Pasand Madras Cuisine from September of 1999 until
January of 2000. Defendants can not be more specific concerning the hours she
worked.l Defendants are not aware of Doe VIII’s other employers -

_9. 'SREEKANTH'KOLLIPARA came to the United States in December of 1999 to
work for Active Tech Solutions but never worked for Active Tech Solutions.
Defendants don’t know anyone else that employed this plaintiff j

10. CHANTIJYOSTHNA DEVI PRATTIPATI often socialized at restaurant Pasand
Madras Cuisine, but never was employed by any defendant Defendants don’t

know anyone else that employed this plaintiff

Dated: 7V2’ X_G; BISHOP, BARRY, HOWE, HANEY & RY`DER

By: 7 l /
M1`C1~1AEL W BOLECHOWSKI

MARK C. RASKOFF
DAVlD L. HART

 

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SUPPLEIV[ENTAL RESPONSES TO PLAINTIFF JANE DOE I’S INTERROGATORIES TO`DEFENDANT
LAKIREDDY INVESTMENT CO., SET ONE _
C-02-5570-WHA

 

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Case 3:02-CV-05570-WHA Document 623-2 Filed 03/15/04 `Page 10 of 10

` vERlFICATIoN`
REsPoNsEs To PLAINTIFF’s DIscovERY

[ ] I, Lakireddy Bali Reddy am an owner of the Defendant and the foregoing answers are
based upon my investigation into the facts concerning each specific request `

[ ] 1 am an officer or agent of the party providing this Verification, and am authorized to
make this Verification for and on its behalf, and I make this Verification for that reason; 1
have read the attached document(s) and know the contents; I am informed and believe and
upon that ground allege that the matters stated in said document(s) are true.

[ ] 1 am one of the general partners of the partnership providing this Verification, and am
' authorized to make this Verification for and on behalf of the partnership, and 1 make this
Verification for that reason; 1 have read the attached document(s) and'know the contents; 1
am informed and believe and upon that ground allege that the matters stated in said
document(s) are true. . '

[ ] I am one of the attorneys for the party required to provide this verified Answer; 1 make
this Verification on behalf of said party who is absent.from the County of Alameda, _
Califomia, where 1 have my office; 1 have read the attached Answer and know its
contents; 1 arn informed and believe and on that ground allege that the matters stated in it
are true. .

[ ] 1 am one of the attorneys for the party required to provide this verified response. 1 make
` this Verification for the reason checked below:

[ ] because the facts alleged in the attached document are within my own
personal knowledge, and are not within the knowledge of the responding
party or any of its agents or employees; `

[ ] because_the responding party's whereabouts are unknown to me, said palty
has failed to communicate with me concerning the subject litigation, and it
is impossible, impractical or futile to secure said party's Verification to the
attached document; _

The matters stated in the attached document are true of my own knowledge, except as to
any matters stated therein upon information and belief, and as to those matters 1 believe
them to be true. '

1 declare under penalty of perjury under.the laws of'the State of California th§t the foregoing is
true and correct and that this Verification was executed on ‘3 \) L`/ l 2003 at

L¢ o MP’° C_ , California.
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Lakireddy Bali"Reddy

 

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